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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.,

                         Plaintiffs,
                                                      Case No. 1:25-cv-00381-ABJ
         v.

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                         Defendants.


              DEFENDANTS’ RESPONSE TO THE COURT’S MINUTE ORDER
        Defendants respectfully submit this response to the Court’s Minute Order directing the

parties to inform the Court of their position on whether this Court has jurisdiction to consider

Defendants’ request to stay the preliminary injunction pending appeal.

        This Court has jurisdiction to rule on Defendants’ renewed request for a stay pending

appeal even though a motion to stay is also pending with the D.C. Circuit. “The filing of a notice

of appeal . . . divests the district court of its control over those aspects of the case involved in the

appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982). But a district court

still “retains jurisdiction over tangential matters” such as a “issuing stays . . . pending the appeal.”

Stewart v. Donges, 915 F.2d 572, 575 n.3 (10th Cir. 1990) (citation omitted). See also e.g., Wolfe

v. Clarke, 718 F.3d 277, 281 n.3 (4th Cir. 2013); Matter of Miranne, 852 F.2d 805, 806 (5th Cir.

1988). Both the D.C. Circuit’s as well as this Court’s power to stay an injunction pending appeal

is collateral to the order on appeal. See 28 U.S.C. § 1651; Fed. R. Civ. P. 62(d), (g). Indeed, when

a party seeks a stay pending appeal from an appellate court, it is not appealing a district court’s

decision regarding such relief; rather, it is asking the court of appeals to exercise its authority under

28 U.S.C. § 1651 to enter that relief. 16A Charles Alan Wright & Arthur R. Miller, Fed. Prac. &

Proc. Juris. § 3954 (5th ed.) (observing that “the power of a court of appeals to stay proceedings
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in the district court during the pendency of an appeal … exists by virtue of the all writs statute, 28

U.S.C. § 1651”) (quoting the original Advisory Committee Note to Federal Rule of Appellate

Procedure 8(a)). Thus, the D.C. Circuit’s consideration of the Government’s stay motion does not

deprive this Court of its independent power to stay its own injunction.

Dated: April 3, 2025                           YAAKOV M. ROTH
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